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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
 8
      ROTHSCHILD BROADCAST                         CASE NO.: 3:21-cv-01121-JCS
 9    DISTRIBUTION SYSTEMS, LLC,
10
                          Plaintiff,               NOTICE OF VOLUNTARY
11                                                 DISMISSAL WITHOUT
      v.                                           PREJUDICE
12
      DRIVE HEADQUARTERS, INC.
13
      d/b/a CAMERAFTP,
14
                          Defendant.
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17
              Plaintiff Rothschild Broadcast Distribution Systems, LLC hereby voluntarily
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     dismisses this action against Drive Headquarters, Inc. d/b/a CameraFTP without
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     prejudice, pursuant to Rule 41(a)(1)(A)(i), with each party to bear its own fees and
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     costs.
21
     Dated: March 11, 2021                  Respectfully submitted,
22
                                            /s/Stephen M. Lobbin
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                                            Attorney(s) for Plaintiff Rothschild Broadcast
24                                          Distributions Systems, LLC
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